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                                                                                                                                                                                 DEFENDANT’S
                                                                                                                                                                                   EXHIBIT
                                                                                                                                                                                         A
                                                                                                       U.S.       Department                       of Justice


                                                                                                       Jason      R.      Dunn

                                                                                                       United        States         Attorney
                                                                                                       District        of Colorado


    lieial   J.   Doshi                                                                               1801   a/i%rnia     SYreei.   Sidle   1600      Telephone        303-454-0100

    Assislan/       United   Slams                                                                    Denver    CO 80202                             Far     303-454-0405
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                                           hornet




                                                                                                       .Jul      12 2020



    Via Email

    Michael Sheehan                          Esq.

    Counsel            to    Michael Aaron                Tew
    Sheehan               Law Denver

    7400 East Caley Avenue

    Quebec Center                    1I




    Suite         300

    Centennial                Colorado 80111

    m ichael@sheehan                         lawdenver.com

    720.381.6146




    Dear Mr.               Sheehan



    I
         understand              your client           Michael          Tew     is    interested       in
                                                                                                             meeting with              federal       law enforcement


    agencies and                 the       Criminal Division              of the      United       States      Attorneys            Office         for the    District         of

    Colorado               for   a proffer           related     to this   offices          criminal investigation                   of conduct          related        to or


    arising out              Mr.     Pews financial                transactions             direct    or indirect         with National               Air Cargo and

    subsequent                transactions             initiated      by or    for the benefit              of Mr.     Tew          either directly          or indirectly.


   This           letter     sets    out      the   terms for that proffer to be scheduled                             soon and             set to   occur      in     Denver

   and                follow                              sessions       between the Criminal Division                              of the United States
             any                     up proffer

   Attorneys Office                          for the    District      of Colorado            the government                         and     you and your client.



    I.               Your client agrees                   that   he will       truthfully       and    completely disclose                    all    information               with

    respect to his activities                        and the activities of others that are the subject                                  of inquiry by the


   government                 during the proffer.                  In   this   regard         your client must neither attempt to protect                                      any

   person entity or asset through materially                                          false    information           or   omission nor                falsely implicate


   any person entity                          or asset.     The only          limited        exception         to this     is   that    Mr.    Tew       has elected             at   this


   time not                  answer                            that                                                    his wife         Kimberly Tew.                   He has
                       to
                                              questions               may specifically               implicate


   consulted               with his Counsel and                   understands              that this decision          Could diminish the value                           if   any of
   his cooperation.                        Mr.      Few has      stated    that      lie
                                                                                           may revisit this decision                   in    the    future.       In    the     event



                                                                                               1
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    that   Mr.          few agrees in the future                          to    answer questions                              that    may specifically                implicate         his wife

    such     a    change           will    be memorialized                       in        a   subsequent                    proffer                               At a     future     time your
                                                                                                                                           agreement.
    client       may be subpoenaed                        to
                                                               testify          before           a federal               grand            jury at trial           or in other      court


    proceedings.                   You and your client understand                                             that     false    statements                willfully    made during              this


    proffer       will        negate       the     Governments agreement                                           not to      use this proffered information                           against

             client.
    your



    2.
                  Except           as set       forth     below            the
                                                                                  government will                              not    offer as           evidence      statements            made by

    your client               or other         information                provided               by your               client        during         the proffer       relating to        the subject

    matter of the proffer                       in      a grand           jury        proceedings                       seeking           an       indictment       against       your client          b
    its   case-in-chief              at   a    trial
                                                         against          your       client           or        c       at   your clients sentencing.



    3.            The government may use any statements                                                            made by your                    client    or any information               directly

    or indirectly              derived         from statements                   made by your client during                                          the proffer           for         other
                                                                                                                                                                                 any

    purpose including                      a       to   obtain       leads to other                       evidence              that
                                                                                                                                           may be used             against       your client       at



   any stage             of a criminal prosecution                              b          in   any prosecution                       of your client for perjury                        false


   statements                 or obstruction             ofjustice              or         c     in       a    prosecution                of your client for any crimes of

                              defined                                                                     Code                                            any conspiracy to commit a
   violence             as                    in   Title       18 United                   States                            Section         16     or

   crime of violence.                      Provision           a eliminates                       the          need          for a   hearing             at which     the
                                                                                                                                                                             government
   would have                 to
                                   prove       that the        evidence               it       would           introduce             at    trial    is   not     tainted    by any statements
   made by or other information                                 provided                   by your client during the proffer.                                       See Kasligar v.             United

   States 408 U.S. 931                         1972.           It    is   the    intent           of this agreement                            to establish         that    such derivative             use

                                                this
                         By signing                      letter       your client expressly waives                                             any right to challenge                  the
   is
         proper.

   derivative            use       of such         statements             or information.




   4.             The government may also                                                                                    made by your                 client    during the proffer
                                                                          use    any statements

   either as        evidence              or for cross-examination                                at          trial     or any       other stage of the criminal

   prosecution                ifyour client              later testifies                   offers other                  evidence or presents a position including

   through         affidavit          or in argument                      that contradicts                            statements            made by your client during the

   proffer.        By signing                 this letter           you and                your       client specifically                          agree that the government                    may
   use your clients statements                             or       information                  in       the         circumstances                 described        above.       See United

   States    v.    Mezzanatto                  5 13      U.S.       196     1995.


   5.             Federal          Rule of Criminal Procedure                                     1   1
                                                                                                          f and Federal Rule of Evidence 410 do                                              not apply

   to    any statements               made by your client during                                      the          course of the proffer.



   6.             In the       event evidence                  other       than
                                                                                           your clients                  own         statements             is   developed         regardless          of

   whether         it    is
                              developed              before         or after the                proffer               this    agreement              does not impart transactional

   immunity to your client or preclude                                         the         government from bringing charges                                           against      him in the

   future.




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    7.        Your client understands              that   he   is
                                                                    required     to    provide        full     and complete information

    about the subject        matter olthe proffer              and any information              about          himself which           might adversely

    impact    on   his credibility         as a Witness concerning              such       activity.




    8.        This agreement          does not obligate the government                        to enter         into    any
                                                                                                                              future   plea   bargain

    with your client or to          file   any motion regarding cooperation                         provided          by your client.



    9.        This agreement          is   not   binding on         the Civil    Division           of the United States Attorneys

    Office for the District         of Colorado any other               federal        government              office    or    any other state tribal

   or local   office   or    agency        not specifically         named   in   this      agreement.



   No understandings promises                    or agreements          have     been       entered        into other        than those set forth       in



   this agreement          and    nothing said during the proffer                 will      constitute          a   promise or agreement          unless


   all   parties            in   writing.
                   agree




                                                                                      Sincerely



                                                                                      .JASO          R.    DUNN
                                                                                      United        States      Attorney



                                                                                      s/   Iletal   J.    Doshi

                                                                                      By     Fletal       J.   Doshi

                                                                                      Assistant          United       States   Attorney




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        I   Michael     Tew have                     read   this   agreement       and carefully      reviewed            it    with    my attorney.      I




    understand                it   and     I
                                                   voluntarily       knowingly      and   willfully     agree   to        it    without    force threat       or


    coercion.           No other                   promises or inducements            have     been   made to me other than those contained                        in



    this      letter.     I
                                  am satisfied with                the   representation       of my attorney     in            this matter.




    Michael         Aaron Tew                                                                    Date




    I

            acknowledge             that       I    have read       this proffer   agreement reviewed                it        with    my client   and discussed

    fully      with     my         client          each   of the provisions of the agreement.
                              n




    Michael             heehan                                                                   Date

    Counsel         for       Michael Aaron                  Tew




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                      of
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                                                                                          Jason R. Dunn
        w                   n
        0                                                                                 United      States       Attorney
            ua                                                                            District     of Colorado


   IIetal   J.   Doshi                                                                  1801    Califomia Street   Suite   1600    Telephone    303-454-0100

   Assistant      United   States
                                                                                        Denver    CO 80202                         Fax   303-454-0405
                                    Attorney




                                                                                          July    27 2020


   Via Email

   Eric Creizman Esq.

   Melissa Madrigal                      Esq.

   Counsel to Michael                     Aaron Tew

   Armstrong Teasdale                      LLP
   919 Third Ave. 37th Floor

   New York NY 10022

   ecreizman@atllp.com

   MMadrigal@atllp.com
   212.209.4358




   Dear Mr. Creizman and Ms. Madrigal



   I    understand              your client Michael             Tew is interested        in meeting        with      federal       law enforcement

   agencies and                 the   Criminal Division of the United                  States    Attorneys Office for the District of

   Colorado for a proffer related to this offices                              criminal investigation               of conduct       related to         or

   arising            out Mr. Tews financial                 transactions      direct or indirect         with National            Air Cargo and

   subsequent              transactions           initiated    by or for the     benefit of Mr.        Tew     either directly           or indirectly.

   This         letter     sets     out the terms for that proffer to be scheduled                      soon and set to occur               in Denver


   and any follow up proffer sessions between the Criminal Division of the United                                                        States


   Attorneys               Office for the District of Colorado                   the government                    and you and your client.




   I.                 Your      client   agrees that he will truthfully and completely                       disclose        all   information       with

   respect            to his activities         and the activities         of others that are the subject              of inquiry by the

   government during                     the proffer.         In this   regard   your
                                                                                         client     must neither attempt to protect any

   person             entity or asset through materially false information or omission nor falsely implicate

                             entity or asset.         At a future time your client may be subpoenaed                               to testify     before       a
   any person

   federal            grand jury at trial            or in    other court proceedings.             You and your client               understand         that


   false         statements           willfully    made during this proffer will               negate    the   Governments agreement                         not to

   use this proffered information                        against        your client.
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   2.         Except              as set forth below the               government will not offer                            as   evidence          statements     made by

   your client or other
                        information provided by      client during the proffer relating to the subject
                                                your

   matter of the proffer                   in   a    grand jury proceedings seeking                               an indictment              against      your client   b
   its   case-in-chief at a trial                  against         your client or           c      at your    clients sentencing.




   3.         The government may use any statements made by your                                                        client        or any information directly

   or indirectly derived from statements made by your client during                                                          the      proffer for any other

   purpose including                     a   to    obtain leads to other evidence                          that   may be used against                    your client at

   any stage of a criminal prosecution                                b         in any     prosecution of your client for perjury false

   statements               or obstruction          of justice or               c   in a prosecution              of
                                                                                                                       your
                                                                                                                                  client for
                                                                                                                                                   any
                                                                                                                                                         crimes of

   violence            as   defined in Title 18 United States                              Code      Section       16 or any conspiracy to commit a
   crime of violence.                    Provision       a eliminates                the need        for a    hearing            at   which    the   government
   would have to prove                    that the     evidence            it    would introduce             at trial       is   not tainted by any statements

   made by or other information provided by your                                             client       during   the proffer.              See Kastigar v.       United

   States 408 U.S.                 931    1972.          It   is   the intent        of this agreement                 to   establish that           such derivative      use

   is    proper.       By signing this letter                   your client expressly waives                           any right to challenge               the

   derivative          use of such statements                      or information.




   4.         The government may also use any statements made by your client during the proffer

   either as       evidence          or for cross-examination                         at   trial    or any other stage                 of the criminal

   prosecution               if   your   client     later testifies             offers     other evidence               or presents           a position including

   through        affidavit         or in argument                 that contradicts              statements        made by your                client    during the

                                                                                                                                             the
   proffer.       By signing this letter you and your client                                       specifically         agree
                                                                                                                                      that
                                                                                                                                                   government may
   use your clients statements                        or information                 in the      circumstances              described         above.      See United

   States    v.   Mezzanatto               513 U.S.           196     1995.


   5.         Federal Rule of Criminal Procedure                                     111 and Federal Rule of Evidence                                 410 do not apply

   to
         any statements             made by your client during the course                                   of the proffer.




   6.         In the event evidence                      other       than your clients               own statements                   is   developed       regardless   of

   whether        it   is    developed          before        or after the          proffer        this   agreement              does not impart          transactional

   immunity to               your   client        or preclude the               government from bringing charges                               against     him in the

   future.




   7.         Your client understands                          that   he    is   required to provide full                    and complete information

   about     the       subject      matter of the proffer                  and any information about himself which                                       might adversely

   impact on his credibility as a witness concerning such activity.




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    8.         This agreement                   does not obligate the government to enter into any future plea bargain

    with your client or to file                      any motion regarding cooperation               provided               by your client.


    9.         This agreement                   is   not binding on the Civil Division of the United                             States   Attorneys
    Office for the District of Colorado                        any   other   federal    government office                     or   any other state tribal
    or local   office            or
                                       agency not specifically        named     in this     agreement.



   No understandings promises or agreements                                  have been entered         into other                than those set forth in

    this agreement                    and nothing said during the proffer will               constitute             a promise or          agreement   unless

    all
          parties   agree in writing.




                                                                                       Sincerely




                                                                                       JASON R. DUNN
                                                                                       United States Attorney



                                                                                       s/   Hetal   J Doshi

                                                                                       By Hetal J. Doshi
                                                                                       Assistant United                   States   Attorney



   I Michael        Tew have read this agreement                       and carefully         reviewed          it    with
                                                                                                                             my attorney.        I



   understand               it   and    1
                                            voluntarily    knowingly    and willfully         agree to         it    without       force threat or

   coercion.        No other promises or inducements                         have been made to            me other than those                  contained    in


   this letter.         I    am satisfied with the representation                  of my attorney      in           this    matter.




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                                                                                                                           CLI
                                  r                                                                                  7ý

                    I




   Michael Aaron                  Tew                                                  Date




   I   acknowledge                that I have        read this proffer agreement            reviewed      it        with    my client       and discussed

   fully    with my client each                      of the provisions of the agreement.




   Eric M. Creizman                                                                    Date

   Melissa N. Madrigal

   Counsel      for Michael                  Aaron Tew




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